Case 1:22-cv-01096-SDG Document 1-1 Filed 03/17/22 Page 1 of 25
                                                                  EXHIBIT A
                                                                                           State Court of Fulton County
                 Case 1:22-cv-01096-SDG Document 1-1 Filed 03/17/22 Page 2 of 25                             **E-FILED**
                                                                                                            22EV000791
                                                                                                       2/4/2022 8:02 AM
                          General Civil and Domestic Relations Case Filing Information Form Christopher G. Scott, Clerk
                           Superior or  State Court of FULTON                   County
                                                                                                           Civil Division


    For Clerk Use Only

    Date Filed                                                        Case Number
                  MM-DD-YYYY

 Plaintiff(s)                                                   Defendant(s)
    DARDEN        SHERIAN                                       GLOBAL EXPERIENCE SPECIALISTS, INC.
 Last            First           Middle L    Suffix   Prefix     Last              First           Middle L   Suffix   Prefix



 Last            First           Middle L    Suffix    Prefix    Last              First           Middle L   Suffix   Prefix



 Last            First           Middle L    Suffix    Prefix    Last              First           Middle L   Suffix   Prefix



 Last            First           Middle L    Suffix    Prefix    Last              First           Middle L   Suffix   Prefix




 Plaintiff's Attorney VONDELLA SMITH                                  Bar Number 811977                 Self-Represented 

                         Check one case type and one sub-type in the same box (if a sub-type applies):



General Civil Cases                                                   Domestic Relations Cases
 Automobile Tort                                                      Adoption
 Civil Appeal
                                                                       Contempt
 Contempt/Modification/Other
  Post-Judgment                                                          Non-payment of child support,
 Contract                                                              medical support, or alimony
 Garnishment
                                                                       Dissolution/Divorce/Separate
 General Tort
 Habeas Corpus                                                         Maintenance/Alimony
   Injunction/Mandamus/Other Writ                                     Family Violence Petition
   Landlord/Tenant
                                                                       Modification
   Medical Malpractice Tort
   Product Liability Tort                                               Custody/Parenting Time/Visitation
   Real Property                                                      Paternity/Legitimation
   Restraining Petition
                                                                       Support - IV-D
   Other General Civil
                                                                       Support-Private (non-IV-D)
                                                                       Other Domestic Relations




          Check if the action is related to another action pending or previously pending in this court involving some or all of
          the same: parties, subject matter, or factual issues. If so, provide a case number for each.

                   Case Number                                  Case Number


          I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
          redaction of personal or confidential information in O.C.G.A.§ 9-11-7.1.

          Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.
                                               Language(s) Required


          Do you or your client need any disability accommodations? If so, please describe the accommodation request.


                                                                                                                         Version 1-1-20
                                                                                                                     State Court of Fulton County
                      Case 1:22-cv-01096-SDG Document 1-1 Filed 03/17/22 Page 3 of 25                                                  **E-FILED**
                                                                                                                                      22EV000791
GEORGIA, FULTON COUNTY                                                                        DO NOT WRITE IN THIS SPACE         2/4/2022 8:02 AM
                                                                                                                       Christopher G. Scott, Clerk
                                                                                                                                     Civil Division
STATE COURT OF FULTON COUNTY                                              CIVIL ACTION FILE #: ___________________________
                 Civil Division



                                                                            TYPE OF SUIT                               AMOUNT OF SUIT
_____________________________________
SHERIAN DARDEN
                                                                              [ ] ACCOUNT                   PRINCIPAL $_____________
_____________________________________
3395 RENAULT RD                                                               [ ] CONTRACT
                                                                              [ ] NOTE                      INTEREST $______________
_____________________________________
      ATLANTA      GA      30354
                                                                              [ ] TORT
Plaintiff’s Name, Address, City, State, Zip Code                              [ ] PERSONAL INJURY          ATTY. FEES $_____________
                                                                              [ ] FOREIGN JUDGMENT
                         vs.                                                  [ ] TROVER                   COURT COST $ ___________
                                                                              [ ] SPECIAL LIEN
                                                                                                   ************
_____________________________________
GLOBAL EXPERIENCE SPECIALISTS, INC.
                                                                              [ ] NEW FILING
_____________________________________
230 PEACHTREE ST., SUITE 1750                                                 [ ] RE-FILING: PREVIOUS CASE NO. ___________________

_____________________________________
        ATLANTA      GA      30303
Defendant’s Name, Address, City, State, Zip Code
                                                                            Registered Agent: C T Corporation System
                                                                            289 S Culver St. Lawrenceville GA 30046
             SUMMONS
TO THE ABOVE NAMED-DEFENDANT:
 You are hereby required to file with the Clerk of said court and to serve a copy on the Plaintiff’s Attorney, or on Plaintiff if no Attorney, to-wit:
Name: ______________________________________________
       Law Office of W. Calvin Smith II PC/ Vondella Smith

Address: ____________________________________________
         3560 Lenox Rd. NE, Ste. 3020
City, State, Zip Code: __________________________________________________
                       Atlanta GA 30326                                                                404 842-0999
                                                                                             Phone No.:___________________________
An answer to this complaint, which is herewith served upon you, must be filed within thirty (30) days after service, not counting the day of service. If you
fail to do so, judgment by default will be taken against you for the relief demanded in the complaint, plus cost of this action. DEFENSES MAY BE MADE &
JURY TRIAL DEMANDED, via electronic filing or, if desired, at the e-filing public access terminal in the Self-Help Center at 185 Central Ave., S.W.,
Ground Floor, Room TG300, Atlanta, GA 30303.

                                                                                            Christopher G. Scott, Chief Clerk (electronic signature)



______________________________________________________________________________________________________________________


SERVICE INFORMATION:
Served, this _______ day of ____________________, 20______.                   _______________________________________________
                                                                                  DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY

WRITE VERDICT HERE:
We, the jury, find for ______________________________________________________________________________________________
_______________________________________________________________________________________________________________
This _________ day of _______________________, 20_____.                 ______________________________________ Foreperson


                                                         (STAPLE TO FRONT OF COMPLAINT)
                                                                                   State Court of Fulton County
        Case 1:22-cv-01096-SDG Document 1-1 Filed 03/17/22 Page 4 of 25                              **E-FILED**
                                                                                                    22EV000791
                                                                                               2/4/2022 8:02 AM
                                                                                    Christopher G. Scott, Clerk
                      IN THE STATE COURT OF FULTON COUNTY                                          Civil Division
                                STATE OF GEORGIA


SHERIAN DARDEN,
Plaintiff.

vs.                                               CIVIL ACTION FILE No:

Global Experience Specialists, Inc. DBA
GES.
Defendant.




                                          COMPLAINT

       COMES NOW, SHERIAN DARDEN, Plaintiff in the above-styled action, and hereby

states her complaint against the Defendant as follows:

                                             PARTIES

                                                 1.

       Plaintiff Darden is resident of Atlanta, Fulton County, Georgia.

                                                 2.

       Defendant Global Experience Specialists Inc. (“Defendant GES”) is a for-profit, Nevada

corporation licensed to do business in the State of Georgia and transacts business in Douglas,

Gwinnett, and Fulton Counties, Georgia, and therefore, is subject to the jurisdiction of this Court.

The Defendant may be served with a copy of the Summons and the Complaint through the

Registered Agent: C T Corporation System, 289 S Culver St, Lawrenceville GA 30046.

                                                 3.

       At all times relevant to this complaint, Defendant was engaged in the event planning

business, and in furtherance of that business, kept and maintained a place of business which, upon

information and belief, is located 230 Peachtree St., Suite 1750, Atlanta GA 30303 wherein it

                                                -1-
         Case 1:22-cv-01096-SDG Document 1-1 Filed 03/17/22 Page 5 of 25


operated and offered to the general public event planning for sale. The general public was

specifically invited to enter said place of business.

                                                   4.

        By virtue of the facts alleged herein, venue of this action is properly laid in this Court,

pursuant to Article VI, Section II, Paragraph VI of the 1983 Constitution of the State of Georgia

and O.C.G.A. § 14-2-510(a) and (b)(3).

                                         STATEMENT OF FACTS

                                                   5.

        Plaintiff incorporates herein by reference all preceding paragraphs of this Complaint as if

each were fully set forth in their entirety.

                                                   6.

        On or about March 10, 2020, Plaintiff was working at the Georgia World Congress Center,

which, upon information and belief, is located at 325 Andrew Young International Blvd., Atlanta

GA 30313.

                                                   7.

        Defendant was hired to put up the signs in the Georgia World Congress Center for the

event at which Plaintiff was working.

                                                   8.

        The existence of this hanging sign created a dangerous and hazardous condition of which

Defendant, by and through its employees, had actual or constructive knowledge, and which could

not have become known to Plaintiff in the exercise of reasonable care and diligence on her part.

                                                   9.

        Plaintiff was sitting at a table working when a sign the Defendant hung up fell on her

causing serious injuries to Plaintiff.

                                                   -2-
         Case 1:22-cv-01096-SDG Document 1-1 Filed 03/17/22 Page 6 of 25


                                                  10.

        Defendant negligently hung up the sign that fell on Plaintiff.

                                                  11.

        Additionally, as alleged herein above, Defendant negligently failed to inspect the premises

and keep them safe, and negligently failed to have in place sufficient policies, practices and

procedures, which, in the exercise of ordinary care and diligence, would have prevented the

occurrence of which Plaintiff complains.

                                                  12.

        Defendant was negligent by failing to train and instruct its employees in the proper practices

and procedures for inspecting and maintaining the Defendant’s signs.

                                                  13.

        Defendant was negligent by failing to properly train and instructs it employees in the proper

practices for putting up the signs.

                                                  14.

        Defendant was otherwise negligent.

                                                  15.

        As a direct and proximate result of the negligence of the Defendant, its agents, servants

and/or employees, Plaintiff suffered serious physical pain and mental anguish and serious bodily

injuries. As a proximate result of the negligence of the Defendant, its agents and employees,

Plaintiff has experienced pain and suffering and continues to experience pain and suffering and

mental anguish in the future. Plaintiff shows that the direct and proximate cause of the injuries and

damages complained of herein were due to the acts and omissions of Defendant as set forth herein.

                                                  16.

        Plaintiff has incurred past medical expenses and may incur additional medical expenses for

                                                  -3-
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his care and treatment in the future. Plaintiff is entitled to recover from Defendant for past and

future medical expenses in an amount to be proven at trial.

                                                  17.

        Plaintiff has incurred lost wages, as she has missed work to attend medical treatment as a

result of his injuries.

                                                   18.

        Plaintiff is entitled to recover from Defendant in an amount to be determined by the jury at

trial for past, present and future pain and suffering in an amount to be proven at trial.



                                              DAMAGES

                                                   19.

        Plaintiff Darden incorporates herein by reference all preceding paragraphs of this

Complaint as if each were fully set forth in their entirety.

                                                   20.

        As a result of Defendant’s negligence, Plaintiff states her intention to seek all special,

compensatory, general, incidental, consequential, economic, and other damages permissible

under the laws of the State of Georgia, including but not limited to:

    a. Personal injuries

    b. Pain and suffering

    c. Mental anguish, fright, shock, and terror;

    d. Future lost wages and earning capacity; and

    e. Consequential damages to be proven at trial.

                                          TRIAL BY JURY

WHEREFORE, Plaintiff DARDEN prays as follows:

                                                   -4-
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       (a)    That process issue to Defendant as required by law;
       (b)    That Plaintiff has judgment against Defendant, in an amount to be proven at trial, for
              past and future medical expenses;
       (c)    That Plaintiff has judgment against Defendant in an amount to be determined at trial
              for past, present and future pain and suffering in an amount as determined by the
              jury at trial;
       (d)    That Plaintiff has judgment against Defendant, in an amount to be determined by an
              enlightened conscience of a jury at trial, for reduced earning capacity and/or lost
              wages;
       (e)    That Plaintiff be awarded reasonable attorney’s fees;
       (f)    That Plaintiff has a trial by jury on all issues so triable; and
       (g)    That Plaintiff has such other and further relief as this Court deems just, equitable and
              proper.




Respectfully submitted this___4th ___ day of February, 2022.




                                       W. CALVIN SMITH, II, P.C.


                                       _/s/ Vondella Smith____
                                       Vondella Smith, Esq.
                                       GA Bar No. 811977
                                       Attorney for Plaintiff


3560 Lenox Road NE
Suite 3020
Atlanta, GA 30326
Phone: (404) 842-0999
Fax: (404) 842-1498




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                                                                                      State Court of Fulton County
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                                                                                                       22EV000791
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                                                                                       Christopher G. Scott, Clerk
                          IN THE STATE COURT OF FULTON COUNTY                                         Civil Division
                                  STATE OF GEORGIA


 SHERIAN DARDEN,
 Plaintiff.

 vs.                                                 CIVIL ACTION FILE No:

 Global Experience Specialists, Inc. DBA
 GES.
 Defendant.



         PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS TO DEFENDANT


        Pursuant to O.C.G.A. § 9-11-36 of the Georgia Civil Practice Act, Plaintiff requests that

the Defendant respond in the time and manner required by law to the following requests for

admissions.

        Answers should specifically deny the matter or set forth in detail the reasons why

Defendant cannot truthfully admit or deny the matter. A denial shall fairly meet the substance of

the requested admission, and when good faith requires that Defendant qualify an answer or deny

only a part of the matter of which an admission is requested, Defendant shall specify so much of

it as is true and qualify or deny the remainder. Defendant may not give lack of information or

knowledge as a reason for failure to admit or deny unless Defendant states that they have made

reasonable inquiry and that the information known or readily obtainable is insufficient to enable

the party to admit or deny. Defendant is advised that if it fails to admit the truth of any matter as

requested, and if Plaintiff thereafter proves the truth of the matter, Plaintiff will apply to the Court

for an order requiring Defendant to pay the reasonable expenses incurred in making that proof,

including reasonable attorney’s fees.
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Please Admit:

                                                      1.


       Admit that Defendant is the owner or proprietor of said GES that installed/ put up the signs

for the event in which Plaintiff worked at the Andrew Young International Congress Center

(hereinafter referred to solely as the “premises”).

                                                      2.


       Admit that the Plaintiff was hit by a sign that the Defendant’s employees put up/ installed

on the premises.

                                                      3.


       Admit that Defendant failed to use ordinary care to keep the premises safe.

                                                      4.


       Admit The State Court of Fulton County has jurisdiction.

                                                      5.


       Admit The State Court of Fulton County is the proper venue.

                                                      6.


       Admit that Defendant should have known of the dangerous condition created by the sign

hanging over the Plaintiff’s body prior to Plaintiff’s incident.

                                                      7.


       Admit that the hazardous condition on the premises lasted so long that Defendant should

have discovered the hazardous condition.

                                                      8.


                                                  -2-
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       Admit that an employee of the Defendant was in the immediate vicinity of the hazardous

condition and could have discovered it.

                                                8.

       Admit that Plaintiff complained of injuries at the scene of the accident.

                                                9.

       Admit that Defendant has an inspection policy to monitor dangerous/ hazardous conditions

on the premises.

                                               10.

       Admit that there was an inspection policy in place when Plaintiff was injured.

                                               11.


       Admit that Plaintiff requested a copy of the inspection procedures or guidelines but

Defendant has not provided a copy.

                                               12.

       Admit that Plaintiff was injured by your falling sign on 3.10.2020.

                                               13.

       Admit that Defendant made an incident report.

                                               14.

       Admit that Plaintiff complained of pain after your sign fell on her on 3.10.2020.

                                               15.

       Admit that Defendant was the entity responsible for monitoring, removing, or warning of

any hazardous /dangerous signs at the premises.

                                               16.

       Admit that the Defendant did not ask any of its agent or employees to check the sign prior


                                                -3-
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to Plaintiff’s fall on 3.10.2020.



                                                 17.

        Admit that Plaintiff did not in any way contribute to the incident alleged in the complaint.

                                                 18.

        Admit that Defendant has within the past five (5) years made similar incident reports in

connection to fallen signs.

                                                 19.

        Admit that Defendant has given reprimands to any of its employees for failure to

maintain a safe usage and/or hanging of signs on premises.

                                                 20.

        Admit that Defendant did not follow guidelines or policies that requires inspection by its

employees to maintain a safe usage and/or hanging of signs on premises.

                                                 21.

        Admit that Defendant failed to maintain warning signs around the subject signs

referenced in the complaint prior to Plaintiff’s incident.

                                                 22.

        Admit that Plaintiff did nothing to contribute to this incident.




Respectfully submitted, this 4th day of February, 2022.




                                    [Signature on following page]



                                                 -4-
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                                           W. CALVIN SMITH II P.C.



                                           Vondella Smith
                                           Georgia Bar No. 811977
                                           Attorney for Plaintiff


W. CALVIN SMITH II, P.C.
3560 Lenox Road N.E.
Suite 3020
Atlanta, GA 30326
(404) 842-0999




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                          IN THE COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

 SHERIAN DARDEN,
 Plaintiff.

 vs.                                             CIVIL ACTION FILE No:

 Global Experience Specialists, Inc. DBA
 GES.
 Defendant.



                                CERTIFICATE OF SERVICE



       This is to certify that I have this day served upon Defendant a copy of the foregoing

Plaintiff’s First Requests for Admissions to Defendant, by depositing same in the U.S. mail

with adequate postage affixed to and addressed as follows:

                                            GES
                         Registered Agent: C T Corporation System
                         289 S Culver St., Lawrenceville GA 30046

   Respectfully submitted, this 4th day of February, 2022.


                                                    W. CALVIN SMITH II P.C.




W. Calvin Smith II, P.C.
3560 Lenox Road, Suite 3020
Atlanta, GA 30326
(404) 842-0999                                      Vondella Smith
                                                    Georgia Bar No. 811977
                                                    Attorneys for Plaintiff




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                                                                                   State Court of Fulton County
       Case 1:22-cv-01096-SDG Document 1-1 Filed 03/17/22 Page 15 of 25                              **E-FILED**
                                                                                                    22EV000791
                                                                                               2/4/2022 8:02 AM
                                                                                    Christopher G. Scott, Clerk
                                                                                                   Civil Division
                          IN THE STATE COURT OF FULTON COUNTY
                                  STATE OF GEORGIA


 SHERIAN DARDEN,
 Plaintiff.

 vs.                                               CIVIL ACTION FILE No:

 Global Experience Specialists, Inc. DBA
 GES.
 Defendant.


              PLAINTIFF’S FIRST INTERROGATORIES TO DEFENDANT

       NOW COMES SHERIAN DARDEN, Plaintiff in the above-styled case, and requires that

the Defendants answer under oath the following interrogatories within thirty (30) days from the

date of service, as provided by law, and that a copy of the Answers be sent to the Plaintiff’s

attorney, Vondella Smith, Esq. at W. Calvin Smith II, P.C., Attorneys At Law, 3560 Lenox Road

NE, Suite 3020, Atlanta, GA 30326.

       NOTE A: When using these interrogatories, the term “Defendants” or any synonym

thereof, is intended to and shall embrace and include in addition to the named Defendants, all

agents, servants, employees, representatives, investigators, or other persons or agencies who are

in possession of, or may have obtained information for or on behalf of the Defendants.

       NOTE B: These interrogatories shall be deemed continuing and supplemental answers

shall be required if the Defendants obtain further information of the nature sought herein

between the time Interrogatories are served and the time of trial.

       NOTE C: When used in these interrogatories, the terms “You” and “Your” are intended

to, and shall embrace and include in addition to you, the named party to whom they are directed,

your attorney, any and all agents, employees, representatives, private investigators, and others
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who are in possession of, or may have obtained information for or on your behalf.

       NOTE D: All questions relate to the facts and circumstances surrounding the occurrence

described in Plaintiff’s Complaint.



                                                 1.

       Please identify the name, address, telephone number, and title of the person (s) that is

answering these Interrogatories on behalf of Defendant.

                                                 2.

       Please identify each person who actually witnessed the incident that is the subject matter

of the Complaint.

                                                 5.

       Please identify each person who appeared on the scene of the incident immediately after

the incident that is the subject matter of the Complaint.

                                                 6.

       Please identify all other persons who appeared at the scene because of the incident that is

the subject matter of the Complaint.

                                                 7.

       Please identify all other known persons not otherwise mentioned in your responses to

these Interrogatories who have any knowledge of the incident and the facts that form the basis of

Plaintiff’s Complaint.

                                                 8.

       If you contend that Defendant in this case is improperly identified, state the proper name,

address, and registered agent of the entity you contend is the proper party.




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                                                    9.

          Provide a detailed factual basis for each defense asserted by the Defendant in its Answer

to Plaintiff’s Complaint.

                                                    10.

          If you contend or believe that some other person or entity is liable to the Plaintiff in this

case because of the incident described in Plaintiff’s Complaint, please identify that person or

entity.

                                                    11.

          Please identify any person you may call at trial as an expert witness, providing a detailed

statement of each expert’s opinions, the facts upon which that expert relies, and an identification

of any documents upon which the expert bases his or her opinions.

                                                    12.

          If any of the experts identified in response to Interrogatory No. 11 have ever been

retained by Defendant for any case, please identify the cases and provide the name of the case,

the case style and caption, and the addresses of the lawyers involved in those other cases.

                                                    13.

          Please identify the insurance carrier and policy information that is attached to the

property which is the subject matter of this litigation.

                                                    14.

          Please identify all signs, postings and other warnings utilized by Defendant to prevent the

incident described in Plaintiff’s Complaint.



          This __4th__ day of February, 2022.




                                                     3
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                                    Vondella Smith, Esq.
                                    Georgia State Bar No. 811977


W. Calvin Smith, II, P.C.
3560 Lenox Road NE
Suite 3020
Atlanta, GA 30326
(404)842-0999




                                      4
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                PLAINTIFF’S FIRST REQUESTS FOR PRODUCTION OF
                          DOCUMENTS TO DEFENDANT


       COMES NOW, SHERIAN DARDEN, Plaintiff in the above-styled civil action, and

requires that the Defendants produce the following documents within thirty (30) days from the

date of service, as provided by law, and that a copy of the Answers be sent to the Plaintiff’s

attorney, Vondella Smith, Esq. at W. Calvin Smith II, P.C., Attorneys At Law, 3560 Lenox

Road NE, Suite 3020, Atlanta, Georgia 30326.

       As used herein, the terms listed below mean the following:

       NOTE A:        “Document” means every writing, electronic data or file, printing, record,

graphic, photographic or sound reproduction of every type and description that is in your

possession, control, custody and knowledge, including but not limited to correspondence,

memoranda, agreements, minutes, assignments, records, stenographic and handwritten notes,

diaries, notebooks, account books, orders, invoices, notices, statements, bills, files, checks,

check stubs, account ledgers, maps, charts, diagrams, analyses, books, pamphlets, work sheets,

data sheets, statistical compilations, data cards, microfilms, computer records (including

printouts, floppy discs or other magnetic storage media), e-mails, tapes, photographs, pictures,

recordings (both voice and videotape) and all copies of such documents, writings or records

when such copies contain any commentary or notation whatsoever that does not appear on the

original.

       NOTE B: When using these requests, the term “Defendant” or any synonym thereof, is

intended to and shall embrace and include in addition to the named Defendant, all agents,

servants, employees, representatives, investigators, or other persons or agencies who are in

possession of, or may have obtained information for or on behalf of the Defendant.
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       NOTE C: These requests shall be deemed continuing and supplemental answers shall be

required if the Defendant obtains further information of the nature sought herein between the

time these requests are served and the time of trial.

       NOTE D: When used in these requests, the terms “You” and “Your” are intended to, and

shall embrace and include in addition to you, the named party to whom they are directed, your

attorney, any and all agents, employees, representatives, private investigators, and others who

are in possession of, or may have obtained information for or on your behalf.

       NOTE E: All questions relate to the facts and circumstances surrounding the occurrence

described in Plaintiff’s Complaint.



                                                 1.

       Please produce a copy of the incident report made by Defendant in connection with the

incident.

                                                 2.

       Please produce copies of all statements given to Defendant by any witnesses to the

incident, including Plaintiff.

                                                 3.

        Please produce copies of all documents that provide all factual support for each defense

asserted by Defendant in its Answer to Plaintiff’s Complaint.

                                                 4.

       Please produce copies of all documents relied upon by any expert identified in response

to Interrogatory No. 11.




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                                                  5.

         If in response to Interrogatory No. 12 you identify an expert that Defendant has used

before in any litigation involving injuries to customers or Defendant’s employees, please

produce all depositions and affidavits given by that expert while retained by you.

                                                  6.

                Please produce a copy of all letters sent to Defendant by customers that

complained of falling signs hung by the Defendant.

                                                  7.

         Please produce copies of all incident reports prepared by Defendant in regards to falling

signs.

                                                  8.

         Please produce all of Defendant’s guidelines, policy manuals, operating directives and

other writings that pertain to the maintenance of safe premises.

                                                  9.

         Please produce all technical bulletins or directives sent by Defendant’s headquarters to

Defendant’s premises at the location of the incident about guidelines, policies, and operating

directives that pertain to safety.

                                                 10.

         Please produce all correspondence between Defendant and anyone that pertains in any

way to the incident described in the Complaint.

                                                 11.

         Please produce all correspondence between Defendant and anyone that pertains in any

way to premises safety.




                                                  7
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                                                 12.

       Please produce copies of all manuals, guidelines, instructions, training documents, and

directions of any sort given by Defendant to its employees concerning the safe maintenance of

the premises involved in the incident that is the subject matter of the complaint.

                                                 13.

       Please produce copies of any reprimands given by Defendant to any of its employees

for failure to maintain safe premises or other safety violations.

                                                 14.

       Please produce copies of any reprimands given by Defendant to any of its employees

arising out of the incident that is the subject matter of the Complaint.

                                                 15.

       Please produce any photographs and videotapes taken by or in possession of Defendant in

connection with the incident and injuries detailed in Plaintiff’s Complaint.

                                                 16.

       Please produce a copy of all depositions taken of any of Defendant’s employees,

managers or officers in any lawsuit against Defendant in which it was alleged that an individual

was injured as a result of a falling sign on the premises. NOTE: “Deposition” means the

transcript, any available miniscript and all exhibits to that deposition.

                                                 17.

       Please produce a copy of all safety training videos used by Defendant to train its

personnel.

                                                 18.

       Please produce copies of all documents, manuals, guidelines and other policies in which




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Defendant directs or requires the use of inspections by its employees and/or agents in regards to

maintaining safe premises.

                                                  19.

        Please produce copies of all documents in which Defendant has directed its employees on

the proper use of warning signs, including but not limited to any documents discussing which

warning signs to use, when to use the signs and where to use the signs.

                                                  20.

        Please produce all documents produced or generated by Defendant about all training

including, but not limited to, all safety training, safety tests, safety evaluations, and safety test

results given to the employees where the incident occurred.



        This __4th____ day of February, 2022.




                                                Vondella Smith, Esq.
                                                Georgia State Bar No. 811977




W. Calvin Smith, II, P.C.
3560 Lenox Road NE
Suite 3020
Atlanta, GA 30326
(404)842-0999




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                  IN THE STATE COURT OF FULTON COUNTY
                               STATE OF GEORGIA
                                     :

 SHERIAN DARDEN,
 Plaintiff.

 vs.                                          CIVIL ACTION FILE No:

 Global Experience Specialists, Inc. DBA
 GES.
 Defendant.


                      RULE 5.2 CERTIFICATE OF SERVICE

       This is to certify that I have this day served upon counsel for Defendant a copy of

the foregoing Plaintiff’s First Interrogatories and Requests for Production of

Documents to Defendant by depositing the same in the U.S. mail with adequate postage

affixed to and addressed as follows:


                                        GES
                     Registered Agent: C T Corporation System
                     289 S Culver St., Lawrenceville GA 30046


This __4th____ day of February, 2022.




                                             Vondella Smith, Esq.
                                             Georgia State Bar No. 811977


W. Calvin Smith, II, P.C.
3560 Lenox Road, NE
Suite 3020
Atlanta, GA 30326
(404)842-0999




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                          IN THE COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

 SHERIAN DARDEN,
 Plaintiff.

 vs.                                              CIVIL ACTION FILE No:

 Global Experience Specialists, Inc. DBA
 GES.
 Defendant.



                                CERTIFICATE OF SERVICE



       This is to certify that I have this day served upon Defendant a copy of the foregoing

Plaintiff’s Complaint, First Requests for Admissions, and Interrogatories to Defendant, by

service of process to and addressed as follows:

                                            GES
                         Registered Agent: C T Corporation System
                         289 S Culver St., Lawrenceville GA 30046

   Respectfully submitted, this 4th day of February, 2022.


                                                    W. CALVIN SMITH II P.C.




W. Calvin Smith II, P.C.
3560 Lenox Road, Suite 3020
Atlanta, GA 30326
(404) 842-0999                                      Vondella Smith
                                                    Georgia Bar No. 811977
                                                    Attorneys for Plaintiff
